        Case 18-51740-grs                     Doc 2 Filed 09/22/18 Entered 09/22/18 00:15:15                                              Desc Ch 7
                                                First Mtg Corp No POC Page 1 of 1
Information to identify the case:
Debtor
                   Eastern Air Flow, L.L.C.                                                        EIN 27−4631577
                   Name


United States Bankruptcy Court Eastern District of Kentucky
                                                                                                   Date case filed for chapter 7 9/21/18
Case number: 18−51740−grs

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Eastern Air Flow, L.L.C.

2. All other names used in the
   last 8 years
3. Address                                   5721 KY Route 404
                                             David, KY 41616−8301

4. Debtor's attorney                         Matthew B Bunch                                               Contact phone (859) 254−5522
                                             Bunch & Brock, PSC
    Name and address                         271 W. Short St., #805                                        Email: matt@bunchlaw.com
                                             Lexington, KY 40507

5. Bankruptcy trustee                        James D. Lyon                                                        Contact phone (859) 252−4148
                                             100 E. Vine #404
    Name and address                         Lexington, KY 40507                                                  Email: jdlyonlaw@aol.com

6. Bankruptcy clerk's office                 US Bankruptcy Court                                                  Hours open 9:00am − 3:00pm,
                                             PO Box 1111                                                          Monday − Friday
    Documents in this case may be            Lexington, KY 40588−1111
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone (859) 233−2608
    at this office or online at
    www.pacer.gov.                                                                                                Date: 9/22/18

7. Meeting of creditors                      October 23, 2018 at 12:00 PM                                         Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a           Community Trust Bank Bldg, Room 529,
    questioned under oath. Creditors                                                                  100 E Vine St, 5th Floor, Lexington, KY
                                             later date. If so, the date will be on the court docket. 40507
    may attend, but are not required to
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
